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10
                          UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   IN RE OUTLAW LABORATORIES,           Case No.: 18-cv-840-GPC-BGS
     LP LITIGATION
14                                        COUNTER-DEFENDANT TAULER
15                                        SMITH LLP’S OPPOSITION TO THE
                                          OUTLAW DEFENDANTS’ EX PARTE
16                                        MOTION TO STAY PRETRIAL
17                                        DEADLINES
18                                        Judge:     Hon. Gonzalo P. Curiel
                                          Courtroom: Courtroom 2D
19
20                                        Filed Concurrently:
                                             1. Declaration of Kevin J. Cole
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       TAULER SMITH LLP’S OPPOSITION TO THE OUTLAW DEFENDANTS’ EX
                PARTE MOTION TO STAY PRETRIAL DEADLINES
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 1            Counter-Defendant Tauler Smith LLP (“Tauler Smith”) respectfully requests the
 2 Court deny Outlaw Laboratory, L.P.’s, Michael Wear’s, and Shawn Lynch’s (collectively,
 3 “Outlaw”) Ex Parte Motion to Stay Pretrial Deadlines (ECF # 319) for the following
 4 reasons.
 5    I.      THE PRETRIAL DEADLINES OUTLAW SEEKS TO STAY HAVE
 6            ALREADY PASSED
 7            Outlaw seeks to stay the pretrial deadlines specified in the Court’s December 19,
 8 2019 Scheduling Order. See ECF # 155 at PageID.2593, ¶¶ 12-15 (setting various pretrial-
 9 related deadlines). But those deadlines have already passed. And in the absence of any
10 justification for Outlaw’s failure to seek this relief earlier, its request should be denied.
11            More specifically, the Court’s Scheduling Order set various pretrial-related
12 deadlines, including:
13          An October 9, 2020 deadline by which counsel were required to file Rule 26(a)(3)
14            Pretrial Disclosures. Id., ¶ 12. Critically, the Court’s Order warned that “[f]ailure
15            to comply with these disclosure requirements could result in evidence preclusion or
16            other sanctions under Federal Rule of Civil Procedure 37.” Id.; see also Fed. R. Civ.
17            P. 26(a)(3)(B) (a party’s failure to timely object to another party’s Rule 26(a)(3)
18            Disclosures waives any objections unless the Court finds good cause to excuse the
19            failure to object).
20          An October 16, 2020 deadline by which counsel were required to meet and confer
21            over the Proposed Pretrial Conference Order and the other trial-related issues
22            outlined in Civil Local Rule 16.1.f.4 (e.g., stipulations over triable issues and
23            exchange of exhibits). See ECF # 155 at PageID.2593, ¶ 13. Critically again, Civil
24            Local Rule 16.1.f.4 warns that “[f]ailure to display and/or exchange exhibits to or
25            with opposing counsel [at the meet and confer] will permit the court to decline
26            admission of same into evidence.” See Civ. L.R. 16.1.f.4.d.
27       An October 30, 2020 deadline by which the Proposed Final Pretrial Conference
28           Order was to be lodged with the Court. See ECF # 155 at PageID.2593, ¶ 15.
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           TAULER SMITH LLP’S OPPOSITION TO THE OUTLAW DEFENDANTS’ EX
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 1         Critically again, Civil Local Rule 16.1.f.8 warns that “[f]ailure of counsel for any
 2         party to appear before the court at pretrial proceedings or to complete the necessary
 3         preparations therefor may be considered an abandonment or failure to prosecute or
 4         defend diligently, and judgment may be entered against the defaulting party either
 5         with respect to a specific issue or on the entire case.” See Civ. L.R. 16.1.f.8.
 6         Not only are these deadlines very specific, but serious consequences result from
 7 missing them. See, e.g., ECF # 155 at PageID.2593, ¶ 12 (the failure to comply with Rule
 8 26(a)(3) “could result in evidence preclusion or other sanctions”); Civ. L.R. 16.1.f.4.d (the
 9 failure to exchange exhibits at the pretrial meet and confer could result in evidence
10 preclusion); Civ. L.R. 16.1.f.8 (the failure to complete the required pretrial filings may be
11 considered “an abandonment or failure to prosecute or defend diligently”).
12         Given the seriousness of these deadlines, there is no excuse for missing them—
13 especially because Tauler Smith’s counsel e-mailed Outlaw’s and the Stores’ counsel
14 ahead of those deadlines and requested the parties stipulate to extending them. See
15 Declaration of Kevin J. Cole (“Cole Decl.”), ¶ 2 & Ex. A (“Because the Court has not yet
16 ruled on our Motion to Modify in Part the Case Schedule (Dkt. 298), we are writing to see
17 whether your side will stipulate to (1) extending the October deadlines by two weeks, and
18 (2) setting the pretrial conference for two weeks after the Court’s ruling on our Motion for
19 Reconsideration of the MSJ order.”). The Stores declined the request. Id., ¶ 3 & Ex. B
20 (“We do not think any extension of the schedule is appropriate.”).1 Outlaw did not respond
21 to the request, did not participate in the pretrial meet and confer, and did not meet any of
22 its pretrial filing requirements. Id., ¶ 4.
23
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25
    Curiously, despite declining to stipulate to extend the pretrial deadlines at Tauler Smith’s
     1
26 request, the Stores now accuse Tauler Smith of opposing Outlaw’s Ex Parte for improper
27 reasons. See Mtn. at 4:24-27 (“Tauler Smith’s insistence that its former client incur further
   attorneys’ fees in preparation for a trial that Outlaw will in no circumstance be a part of, is
28 entirely frivolous.”).
                                                   2
       TAULER SMITH LLP’S OPPOSITION TO THE OUTLAW DEFENDANTS’ EX
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 1           It is simply too late for these deadlines to be stayed. They have already passed.
 2 Outlaw cannot ask the Court to stay deadlines it already missed. To the extent Outlaw has
 3 any remedy, it is to show good cause for why its failure to comply with the Schedueling
 4 Order should be excused. But as explained below, Outlaw cannot establish good cause—
 5 and in fact, Outlaw does not even attempt to demonstrate that good cause exists.
 6   II.     THERE IS NO GOOD CAUSE FOR OUTLAW’S FAILURE TO COMPLY
 7           A party who fails to meet a deadline specified by a scheduling order must show
 8 “good cause” to excuse its untimeliness. Coleman v. Quaker Oats Co., 232 F.3d 1271,
 9 1294 (9th Cir. 2000) (“Under Rule 16(b), [certain parties] must show good cause for not
10 having amended their complaints before the time specified in the scheduling order
11 expired.”). There is simply no excuse—let alone good cause—for Outlaw’s failure to
12 comply with the Court’s Schedueling Order or Local Rules. This is especially because
13 Tauler Smith explicitly warned Outlaw that (i) unless and until the Court says otherwise,
14 it remains a party in this case, (ii) it was required to comply with the pretrial filing
15 requirements, and (iii) its failure to comply would likely result in evidence preclusion or
16 other sanctions. Id., ¶ 5 & Ex. C (October 15, 2020 e-mail from Tauler Smith’s counsel to
17 Outlaw’s counsel). Regardless, Outlaw makes no attempt to even demonstrate good cause.
18 III.      OUTLAW’S EX PARTE IS PROCEDURALLY DEFECTIVE
19           Civil Local Rule 83.3.g establishes the requirements for ex parte motions:
20
             A motion for an order must not be made ex parte unless it appears by affidavit
21           or declaration (1) that within a reasonable time before the motion the party
             informed the opposing party or the opposing party’s attorney when and where
22
             the motion would be made; or (2) that the party in good faith attempted to
23           inform the opposing party and the opposing party’s attorney but was unable
             to do so, specifying the efforts made to inform them; or (3) that for reasons
24
             specified the party should not be required to inform the opposing party or the
25           opposing party’s attorney.
26 See Civ. L.R. 83.3.g.2.
27           Because Outlaw’s Ex Parte does not comply with any of these requirements, it
28 should be denied for this additional reason.
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           TAULER SMITH LLP’S OPPOSITION TO THE OUTLAW DEFENDANTS’ EX
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 1 IV.     CONCLUSION
 2         For all these reasons, Tauler Smith respectfully requests the Court deny Outlaw’s
 3 Ex Parte to Stay Pretrial Deadlines.
 4
 5 DATED: November 2, 2020                Respectfully submitted,

 6                                        KJC LAW GROUP, A.P.C.
 7                                 By:    /s/ Kevin J. Cole
 8                                        Attorneys for Counter-Defendant
                                          Tauler Smith LLP
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 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed, or caused to be filed, the foregoing with
 3 the Clerk of the Court for the United States District Court for the Southern District of
 4 California by using the CM/ECF system on November 2, 2020. I further certify that all
 5 participants in the case are registered CM/ECF users and that service will be accomplished
 6 by the CM/ECF system.
 7        I certify under penalty of perjury that the foregoing is true and correct. Executed on
 8 November 2, 2020.
 9                                         KJC LAW GROUP, A.P.C.

10                                  By:    /s/ Kevin J. Cole
                                           Attorneys for Counter-Defendant
11                                         Tauler Smith LLP
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